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IN \`.1'|ISTRIC1' m APPEALS COURT Dl” m OTHER PANEL (Sp§§eify belOiN) _ _
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FOR_
aj v_S_ C'M%¢ e’t“'{- .. . l .
AT '
55~ 'D¢Ee»> CA l
gilsz REPRESENTED (Show your full name) %Defeudam_nduu DOCKET NUMBERS _
33 ' Defeodant - Juvenile Magi§fraie
a LKSFZEN E¢ /<'ING 3 |:I Appellant _
4 I:I Probation Violator d 'Ct COU-\`.f
5 I:I Pa'role Violator` , 612 :2?>"0&~§;
CHARGE/OFFENSE (descrlbe if applicable & check box ““’) Felooy 6 |:] Habeas Petitioner CG\l\'f`Of APPC%]S
, y l:\ Msdemeanor 7 l:l 2255 Peu`tioner
2§ L»[§C § gail (C>? )(E) sl;l wtmuwimess
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Are you now employed? Yes ]:i No |j Am Self~Employed (H~TL»¢@€;~J 6 ;J'D£S 151-1341 '-€
Name and address of employer: "`M 9 (613W ®*JWM) _'é /?'--' @:‘:€5_"7`0&9°¥ j
EMP.LOY_ [F YES, how much do you WSOOD . OD/H o [F NO, give rnonth and year of last employment /
MENT earn per month? $ }How much did you earn per mo_nth? $
Ifmanied is your Spouse employed? [:[ Yes No
[F YES, how much does your lf a minor under age 21, what is your Parents or
Spouse earn per month? $ Guardiau’s approximate monthly income? $
.Have you received Within the past 12 mouths any income Born a business, profession or other form of Self-employrne o in the form of
rent payments, interest, dividends, retirement or annuity payments, or other sources? m Yes l-HNo
l O'H£ER _ 7 ` RECEIYED SooRcF.s _` 7
Assn'rs INcoME ilF YES, G_IVE_ THE AMOUNT _
RECEIVED & IDENTIFY $
TI-.IE S'OUR'CES . . . . . .. . _ .
CASH Have you any cash on hand or money in savings or checking aecounts'? l:[ Yes l:l No IF YES, state total amount $ 2 0 0 , a c
Do you own any real estate, stocks, bonds, uotes, automobiles, or other valuable property (excfuding ordinary household furnishings and n
clothing)? Yes [:| No jr -
VALUE DESCR]_PTION
PROP- ' . _ _: ' ‘ - _
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DESCR[BE IT .
MARITAL STATUS 130th List'persons you-actually support and your relationship to them
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DEPENDENTS J{MARRED ` 5 _ CA \ -
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E'PC\]

 

 

I certify under penalty of perjury that the foregoing is true and eorrect. Executed on (date)

SIGNATURE OF DEFENDANT
(OR PERSON REPRESENTED)

Case 3:13-Cr-01128-BEN Document95 Filed 04/26/13 Page|D.QQ PageZotZ

UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF CALIFORNM

Defendant-Appel'lant.

UNITED STATES 0F AMERICA, ) U.s.r').C. No. 13CR1123'-BBN
)
Piaimifr-Appeuee, ) CERT[FICATE or sEvacE
V- )
)
FRANKIE KlNG, )
)
)
)

 

IT IS HEREBY CERTIFIED THAT:

I, GARY P. BURCHAM, am a citizen of the United States and am at least eighteen years of
age. My business address is 964 Fifth Avenue, Suite 300, San Diego, CA 92101. 3

I am not a party to the above-entitled action. l have caused service of Defendant’s Financial
Aftidavit on the following party or parties by electronically filing the foregoing With the Clerk of the

District Court using its ECF Systern, Which electronically notifies him/her.

Fred Sheppard, Esq.
I declare under penalty of perjury that the foregoing is true and correct.
EXecuted on April 26, 2013

s/ Gal'V P. Burcham
GARY P. BURCHAM

